                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

UNITED STATES OF AMERICA                        )
                                                )
                                                )
v.                                              )       Case No. 1:09-CR-183
                                                )
DONNIE R. SAVAGE, JR.                           )       MATTICE/CARTER




                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on April 22, 2010.

At the hearing, defendant entered a plea of guilty to Count One of the Indictment in exchange for

the undertakings made by the government in the written plea agreement. On the basis of the

record made at the hearing, I find that the defendant is fully capable and competent to enter an

informed plea; that the plea is made knowingly and with full understanding of each of the rights

waived by defendant; that it is made voluntarily and free from any force, threats, or promises,

apart from the promises in the plea agreement; that the defendant understands the nature of the

charge and penalties provided by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to Count One of the Indictment be

accepted, that the Court adjudicate defendant guilty of the charges set forth in Count One of the

Indictment, and that the written plea agreement be accepted at the time of sentencing. I further

recommend that defendant be taken into custody pending sentencing in this matter. Acceptance

of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence

are specifically reserved for the district judge.


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Case 1:09-cr-00183-TRM-CHS             Document 63        Filed 04/22/10     Page 1 of 2    PageID
                                             #: 123
       The defendant’s sentencing date is scheduled for Monday, July 19, 2010, at 9:00 am.



       Dated: April 22, 2010                          s/William B. Mitchell Carter
                                                      UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen days after the plea
hearing. Failure to file objections within fourteen days constitutes a waiver of any further right to
challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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Case 1:09-cr-00183-TRM-CHS           Document 63        Filed 04/22/10      Page 2 of 2      PageID
                                           #: 124
